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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 35 drugs ;g_%_ fm @: 133
Western Division

UNITED STATES OF AMERICA

 

§ 6

-vs- Case No. 2:05cr20181-Ma

VERLES MORRIS

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlN DlN GS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECTIONS REGARD|NG DETENT|ON

VERLES MORRIS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. VERLES MORRIS shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for

the purpose of an appearance in connection with a Court proceeding Q,QM\
Date: June 13, 2005 /-[;\*/

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

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This notice confirms a copy of the document docketed as number ll in
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PDA

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Honorable Samuel Mays
US DISTRICT COURT

